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                 UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF MICHIGAN
                      SOUTHERN DIVISION

TIMOTHY KING, et.al.,                      Case No. 20-cv-13134
    Plaintiffs,                            Hon. Linda V. Parker

v.

GRETCHEN WHITMER, in her official capacity
as Governor of the State of Michigan, et.al.,
     Defendants,

and

ROBERT DAVIS,
     Intervenor Defendant.
__________________________________________________________________/
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__________________________________________________________________/

     INTERVENOR DEFENDANT ROBERT DAVIS’ EMERGENCY
     MOTION TO STRIKE PLAINTIFFS’ PURPORTED AMENDED
                  COMPLAINT (ECF NO. 6).

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      NOW COMES, INTERVENOR DEFENDANT ROBERT DAVIS

(hereinafter “Intervenor Defendant Davis”), by and through his

attorney, ANDREW A. PATERSON, and for his Emergency Motion to

Strike Plaintiffs’ Purported Amended Complaint (ECF No. 6), states the

following:

                             I.    Concurrence

      Pursuant to Local Rule 7.1, prior to filing the instant motion,

counsel for Intervenor Defendant Davis sought concurrence from

Plaintiffs’ counsel, but concurrence was denied, necessitating the filing

of this motion.

             II.   Necessity for Immediate Consideration

      It is necessary for the Court to expedite the briefing and

adjudication of the instant motion because currently pending before the

Court is Plaintiffs’ emergency motion for temporary restraining order

(ECF No. 7), which is based solely on the facts as pled and alleged in

Plaintiffs’ amended complaint (ECF No. 6). (See Plaintiffs’ Motion for

TRO, ECF No. 7, PageID. 1832)1. This is so because as this Court is


1Plaintiffs’ motion for TRO (ECF No. 7) states the following: “The facts
relevant to this motion are set forth in the November 29, 2020 amended
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aware, “[a]n amended complaint supersedes an earlier complaint for all

purposes.” In re Refrigerant Compressors Antitrust Litigation, 731 F.3d

586, 589 (6th Cir.2013); see also Pacific Bell Telephone Co. v. Linkline

Commc'ns, Inc., 555 U.S. 438, 456 n. 4, 129 S.Ct. 1109, 172 L.Ed.2d 836

(2009). Thus, if the Court grants Intervenor Defendant Davis’ instant

motion and determines that Plaintiffs’ amended complaint (ECF No. 6)

was not properly filed in accordance with Fed.R.Civ.P. 15(a)(1),(2),

Plaintiffs’ pending motion for TRO (ECF No. 7) would be rendered moot. 2

Thus, expedited consideration is warranted.

                             III. Introduction

      On November 25, 2020, Plaintiffs filed a five-count, 75-page

complaint against Defendants Governor Gretchen Whitmer, Secretary

of State Jocelyn Benson and the State Board of Canvassers. (ECF No.

1). Then on November 27, 2020, without obtaining special leave from

this Court or permission from the Defendants, Plaintiffs unilaterally



complaint (“Complaint”) filed in the above-captioned proceeding, and its
accompanying exhibits, filed concurrently with this motion, all of which
are respectfully incorporated herein by reference. We present only a
summary.” (ECF No. 7, PageID. 1832).
2Intervenor Defendant Davis will also be filing an emergency motion to
strike Plaintiffs’ pending motion for TRO (ECF No.7).
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filed what purports to be an 86-page amended complaint (ECF No. 6).

On November 30, 2020, Intervenor Defendant Davis filed an emergency

motion to intervene as a party defendant. (ECF No. 12). On December

2, 2020, this Court entered an order granting Intervenor Defendant

Davis’ emergency motion to intervene [12] along with granting the City

of Detroit’s [5] and the Democratic National Committee’s and Michigan

Democratic Party’s [14] respective motions to intervene. (See Order,

ECF No. 28).


                       IV.   Law and Legal Analysis

      A. Plaintiffs’ Purported Amended Complaint (ECF No. 6)
       MUST Be Stricken because It Was NOT Properly Filed In
                   Accordance With Fed.R.Civ.P. 15(a).

      Rule 15 of the Federal Rules of Civil Procedure governs the filing

of amended complaints and provides, in pertinent part:

        (a) Amendments Before Trial.

            (1) Amending as a Matter of Course. A party may amend its
            pleading once as a matter of course within:

                 (A) 21 days after serving it, or

                 (B) if the pleading is one to which a responsive
                 pleading is required, 21 days after service of a
                 responsive pleading or 21 days after service of a
                 motion under Rule 12(b), (e), or (f), whichever is
                 earlier.
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            (2) Other Amendments. In all other cases, a party may
            amend its pleading only with the opposing party's
            written consent or the court's leave. The court should
            freely give leave when justice so requires.

FED. R. CIV. P. 15(a)(1),(2) (emphasis added).


      The plain and unambiguous language of Fed.R.Civ.P. 15(a)(1) is

clear: Plaintiffs may file an amended complaint (1) after their original

complaint has been served and (2) within Rule 15’s provisions for

amendments for “amending as a matter of course.” Fed. R. Civ. P.

15(a)(1). To be clear, “[a] party may amend its pleading once as a matter

of course within: (A) 21 days after serving it, or (B) if the pleading is

one to which a responsive pleading is required, 21 days after service

of a responsive pleading or 21 days after service of a motion

under Rule 12(b), (e), or (f), whichever is earlier.” Fed. R. Civ. P.

15(a)(1) (emphasis supplied).

      Here, it is clearly evident from the record that Plaintiffs’

“amended” complaint (ECF No. 6), which was filed on November 27,

2020, was NOT properly filed in accordance with Fed.R.Civ.P. 15(a)(1).

As noted, on November 25, 2020, Plaintiffs filed their original

complaint (ECF No. 1). However, Plaintiffs did not serve the summons

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and original complaint on the Defendants prior to filing their

“amended” complaint (ECF No. 6) on November 27th. Rather,

Plaintiffs improperly filed their “amended” complaint (ECF No. 6) prior

to serving the summons and original complaint (ECF No. 1) on the

Defendants. As the Court may recall, on December 1, 2020, the Court

entered a “text-only” order requiring the Plaintiffs to inform the Court

once “proper service has been effectuated” on the Defendants. Later

that same day, Plaintiffs’ counsel filed executed return of service forms,

which indicated that all of the Defendants were properly served with a

summons and a copy of the original complaint (ECF No. 1) on

December 1, 2020. (See Executed Return of Service, ECF No. 21,

PageID. 2109-2114). Thus, pursuant to Fed.R.Civ.P. 15(a)(1), Plaintiffs

had a right to file an amended complaint once as a matter of course 21

days after properly serving the summons and original complaint [1] on

the Defendants, but not before. Fed.R.Civ.P. 15(a)(1).

      Here, Plaintiffs clearly put the “cart before the horse”. Plaintiffs

filed their “amended” complaint (ECF No. 6) on November 27, 2020,

which was prior to the December 1st date the Plaintiffs served the

Defendants with summons and original complaint [1]. (See Executed


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Return of Service, ECF No. 21, PageID. 2109-2114). Moreover,

Plaintiffs’ “amended” complaint (ECF No. 6) was also filed prior to any

responsive pleadings and/or motions under Rules 12(b), (e), or (f) being

filed by the Defendants. See Fed.R.Civ.P. 15(a)(1).

      Thus, because Plaintiffs failed to comply with the requirements

set forth under Fed.R.Civ.P. 15(a)(1), the only way Plaintiffs could have

filed their “amended” complaint (ECF No. 6) is if they received written

consent from the Defendants or obtained leave from the Court. See

Fed.R.Civ.P. 15(a)(2). Fed.R.Civ.P. 15(a)(2) provides, in relevant part:”

In all other cases, a party may amend its pleading only with the

opposing party's written consent or the court's leave.” (emphasis

supplied). However, the record clearly reflects that neither occurred.

Prior to filing their “amended” complaint on November 27, 2020 (ECF

No. 6), the Plaintiffs did not obtain written consent from the

Defendants nor did the Plaintiffs properly seek or obtain leave from the

Court. Fed.R.Civ.P. 15(a)(2).

      Accordingly, because Plaintiffs’ “amended” complaint (ECF No. 6)

was NOT properly filed in accordance with Fed.R.Civ.P. 15(a)(1),(2), it

MUST be stricken by the Court.


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                             CONCLUSION

      WHEREFORE, for the foregoing reasons, Intervenor Defendant

Robert Davis prays that this Honorable Court GRANT his Emergency

Motion to Strike Plaintiffs’ Amended Complaint (ECF No. 6) because it

was not properly filed in accordance with Fed.R.Civ.P. 15(a)(1),(2).


Dated: December 3, 2020            Respectfully submitted,

                                   /s/ ANDREW A. PATERSON
                                   ANDREW A. PATERSON (P18690)
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                     CERTIFICATE OF SERVICE

      I, ANDREW A. PATERSON, certify that forgoing document(s) was

filed and served via the Court's electronic case filing and noticing

system (ECF) this 3rd day of December, 2020, which will automatically

send notification of such filing to all attorneys and parties of record

registered electronically.

Dated: December 3, 2020            Respectfully submitted,

                                   /s/ ANDREW A. PATERSON
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